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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


BRIAN HAWKINS,                        )
                                      )
                      Plaintiff,      )
       v.                             )                 No. 1:17-cv-2575-KBJ
                                      )
ROBERT WILKIE, Secretary of           )
Veterans Affairs, and                 )
                                      )
DEPARTMENT OF VETERANS AFFAIRS, )
                                      )
                      Defendants.     )
_____________________________________ )


          CONSENT MOTION TO STAY SUMMARY JUDGMENT BRIEFING

       Defendants hereby move for a stay of summary judgment briefing. Plaintiff consents to

this request. Defendants state the following in support of this motion.

       1) Plaintiff – the former Director of the Washington DC VA Medical Center – filed an

           amended complaint challenging a September 2017 decision by the Department of

           Veterans Affairs (VA), which removed him from Senior Executive Service and the

           Civil Service. ECF No. 22. Plaintiff has also filed a motion for partial summary

           judgment, arguing that the removal decision is (i) arbitrary and capricious, and (ii)

           unconstitutional. ECF No. 47. Defendants’ response to Plaintiff’s motion is

           currently due on or before May 16, 2019. Minute Order, May 2, 2019.

       2) By a letter dated May 14, 2019, VA rescinded the September 2017 decision, stated

           that back pay will be provided, and assigned Plaintiff to another position in the Senior
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           Executive Service at the same pay. The position of Director of the Washington DC

           VA Medical Center is currently occupied.1

       3) Notwithstanding the rescission of the challenged decision and the reinstatement of

           Plaintiff to a position in the Senior Executive Service (with appropriate back pay),

           Plaintiff has declined to dismiss his suit or withdraw his motion for summary

           judgment.

       4) Defendants intend to file a motion to dismiss this case as moot, in light of the

           rescission and reinstatement with back pay. Defendants plan to lodge their motion on

           or before May 30, 2019.

       5) Given the changed circumstances – and their implications for this Court’s jurisdiction

           – Defendants request that the Court stay briefing on Plaintiff’s motion for summary

           judgment pending resolution of Defendants’ planned motion to dismiss. A stay

           would be consistent with the D.C. Circuit’s admonition that “[s]ummary judgment . . .

           represents a decision on the merits, which courts may render only after jurisdiction

           has been established.” Kirkham v. Societe Air France, 429 F.3d 288, 291 (D.C. Cir.

           2005).

       6) Defendants consulted with Plaintiff regarding his position on this motion. Plaintiff

           consents to the request for a stay, based on Defendants’ representation that (barring

           unforeseen circumstances) Defendants will file their motion to dismiss on or before

           May 30, 2019.




1
 Like a remand under the APA, this rescission does not prohibit the Agency from reaching, at a
later time, the same conclusion with respect to the issues underlying the previous decision, if it
deems such a conclusion appropriate.
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       Accordingly, for the reasons stated above, Defendants request a stay of summary

judgment briefing pending resolution of Defendants’ planned motion to dismiss.


 Date: May 14, 2019                           Respectfully submitted,

                                              JOSEPH H. HUNT
                                              Assistant Attorney General

                                              CHRISTOPHER R. HALL
                                              Assistant Branch Director

                                                  s/ Justin M. Sandberg
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